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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  GALVESTON DIVISION

    THANG HONG LUU, CHIN BA NGO,   §
    HUNG VAN NGUYEN, NO HAI LE,    §
    HAI THANH PHAN, TUYEN VAN      §
    VU, HOP DUC TON, GIANG DUC     §
    TRAN, GIANGSY NGHIEM, NHAM     §
    VAN HO, HUYNH KHAC BUI, SY     §
    DUNG   NGUYEN,    DUC     MINH §
    NGUYEN, and JOHN DOES 1-43,    §
                                   §                   CIVIL ACTION NO. 3:11-cv-00182
                   Plaintiffs,     §
                                   §
    vs.                            §
                                   §
    INTERNATIONAL INVESTMENT       §
    TRADE AND SERVICE GROUP        §
    A/K/A INTERSERCO, and GENERAL §
    AUTOMOTIVE            INDUSTRY §
    CORPORATION    OF      VIETNAM §
    A/K/A VINAMOTORS,              §
                                   §
                   Defendants.     §

                    JOINT STIPULATED MOTION FOR DISMISSAL
                 OF ALL CLAIMS AGAINST DEFENDANT VINAMOTOR

        Pursuant to Federal Rule of Civil Procedure 41(a)(2), Plaintiffs and Defendant Vietnam

Motors Industry Corporation1 (“Vinamotor”) hereby move for an order dismissing without

prejudice all of Plaintiffs’ claims against Vinamotor. Each party to bear its own costs and fees.


SO STIPULATED AND AGREED:




1
 Vietnam Motors Industry Corporation is the correct legal name for the defendant mistakenly named General
Automotive Industry Corporation of Vietnam in Plaintiffs’ Complaint.

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DATED: April 2, 2013

By:    /s/ Tammy Tran                          By:   /s/ Charles S. Kelley
       Minh Tam Tran                                 Charles S. Kelley
       Attorney-in-Charge                            Attorney-in-Charge
       Texas Bar No. 20186400                        Texas Bar No. 11199580
       Southern District I.D. No. 328541             Southern District I.D. No. 15344

The Tammy Tran Law Firm                        MAYER BROWN LLP
2915 Fannin                                    700 Louisiana Street, Suite 3400
Houston, TX 77002                              Houston, Texas 77002-2730
713-655-0737                                   (713) 238-2634
Fax: 713-655-0823                              (713) 224-4634 FAX
Email: ttran@tt-lawfirm.com                    Email: ckelley@mayerbrown.com

ATTORNEY FOR PLAINTIFFS                        ATTORNEY FOR DEFENDANT
                                               VIETNAM MOTORS INDUSTRY CORP.
                                               A/K/A VINAMOTOR




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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing document is being
automatically served on all known Filing Users in this matter through the Court’s Notice of
Electronic Filing Service, on this the 2nd day of April, 2013.

       Charles S. Kelley
       MAYER BROWN LLP
       700 Louisiana Street, Suite 3400
       Houston, Texas 77002-2730
       (713) 238-2634
       (713) 224-4634 FAX
       Email: ckelley@mayerbrown.com


                                             __/s/ Tammy Tran______
                                               TAMMY TRAN




                                               3
